
PROVOSTY, J.
An exception to the mannér' in- which 'citation was. served was over.ruled by the trial court; and defendant applies to this court for the writs of certiorari and prohibition. The case is appealable, and the trial court has jurisdiction of it; therefore the remedy is by appeal, and the said writs will not lie. State ex rel. Jennings v. Miller, Judge, 109 La. 704, 33 South. 739; Iberia v. Morgan’s L. &amp; T. R. &amp; S. S. Co., 129 La. 492, 56 South. 417; State ex rel. La. Trust Savings Bank v. Board of Liquidation, 135 La. 571, 65 South. 745.
Application denied, at the cost of relator.
